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                         IN THE UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,                            )
                                                     )              8:16CR213
                      Plaintiff,                     )
                                                     )
       vs.                                           )               ORDER
                                                     )
JAMES MANSKE and                                     )
ALEX PEARSON,                                        )
                                                     )
                      Defendants.                    )



       This matter is before the court on the motion to continue by defendants James Manske

(Manske) (Filing No. 24) and Alex Pearson (Pearson) (Filing No. 26). Both defendants seek a

ninety (90) day continuance of the trial scheduled for September 26, 2016. Sams's counsel

represents that government's counsel would have no objection to the motion. Both Manske and

Pearson have filed affidavits consenting to the continuance and acknowledging the time for the

continuance will be excluded under the computations of the Speedy Trial Act (Filing Nos. 25 and

27). The government had no objection to the motions voiced in a hearing on September 6, 2016,

with regard to the material witness Juan Pablo Miranda-Pacheco, 8:16MC46 (D. Nebr.). Upon

consideration, the motions will be granted, and this Order shall supersede Order [28] issued on

August 31, 2016.



       IT IS ORDERED:

       1.      Manske's and Pearson's motions to continue trial (Filing No. 24 and 26) are granted.

       2.      This Order supersedes the Order [28] filed on August 31, 2016.

       3.      Trial of this matter as to both defendants is re-scheduled for January 9, 2017,

before Judge John M. Gerrad and a jury in Courtroom No. 1, Fourth Floor, Roman L. Hruska U.S.

Courthouse, 111 South 18th Plaza, Omaha, Nebraska. The ends of justice have been served by

granting such motion and outweigh the interests of the public and the defendant in a speedy trial.

The additional time arising as a result of the granting of the motion, i.e., the time between

September 6, 2016, and January 9, 2017, shall be deemed excludable time in any computation
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of time under the requirement of the Speedy Trial Act for the reason that defendants' counsel

require additional time to adequately prepare the case. The failure to grant additional time might

result in a miscarriage of justice. 18 U.S.C. § 3161(h)(7)(A) & (B).



       DATED this 6th day of September, 2016.

                                                     BY THE COURT:

                                                     s/ Thomas D. Thalken

                                                     United States Magistrate Judge




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